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               IN THE UNITED STATES DISTRICT COURT
               FOR THE DISTRICT OF MASSACHUSETTS

PRESIDENT AND FELLOWS OF
HARVARD COLLEGE,
                      Plaintiff,
                                           Case No. 1:25-CV-11048-ADB
          v.

UNITED STATES DEPARTMENT
OF HEALTH AND HUMAN
SERVICES, et al.,
                      Defendants.
AMERICAN ASSOCIATION OF
UNIVERSITY PROFESSORS—
HARVARD FACULTY CHAPTER, et
al.,                                       Case No. 1:25-CV-10910-ADB
                      Plaintiffs,
          v.

UNITED STATES DEPARTMENT
OF JUSTICE, et al.,
                      Defendants.



 JOINT REDACTED ADMINISTRATIVE RECORD ON BEHALF OF
             PLAINTIFFS AND DEFENDANTS




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